   Case 3:12-cr-00695-CCC       Document 88      Filed 06/06/13   Page 1 of 1



                      IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF PUERTO RICO

 UNITED STATES OF AMERICA
 Plaintiff
 vs                                               CRIMINAL 12-0695CCC
 1) JOSE M. CAPELLA-QUIÑONES
 2) GIOVANNI A. VARGAS-RAMIREZ
 3) SIGFREDO GONZALEZ-BLAS
 4) LUIS OQUENDO-SANTIAGO
 Defendants


                                         ORDER

       Having considered the Report and Recommendation filed on May 17, 2013 (docket
entry 72) on a Rule 11 proceeding of defendant Sigfredo González-Blas (3) held before
U.S. Magistrate Judge Bruce J. McGiverin on May 15, 2013, to which no objection has been
filed, the same is APPROVED. Accordingly, the plea of guilty of defendant is accepted. The
Court FINDS that his plea was voluntary and intelligently entered with awareness of his
rights and the consequences of pleading guilty and contains all elements of the offense
charged in the indictment.
       This case was referred to the U.S. Probation Office for preparation of a Presentence
Investigation Report since May 15, 2013. The sentencing hearing is set for August 13,
2013 at 4:30 PM.
       SO ORDERED.
       At San Juan, Puerto Rico, on June 6, 2013.



                                         S/CARMEN CONSUELO CEREZO
                                         United States District Judge
